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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                      AT JACKSON

DR. GWIN ANDERSON, OD,         )
                               )
     Plaintiff,                )
                               )
v.                             )               No. 1:23-cv-01047
                               )               JURY DEMANDED
STATE AUTOMOBILE MUTUAL        )
INSURANCE COMPANY,             )
YOUNG AND ASSOCIATES,          )
and ENGLE MARTIN & ASSOCIATES, )
                               )
     Defendants.               )

                NOTICE OF REMOVAL OF A CIVIL ACTION BY DEFENDANT,
                  STATE AUTOMOBILE MUTUAL INSURANCE COMPANY

        Comes now defendant, State Automobile Mutual Insurance Company, (“State Auto”),

incorrectly sued as State Auto Property & Casualty Insurance Co, by and through counsel,

pursuant to 28 U.S.C. § 1446, and hereby gives notice of removal of this action from the

Chancery Court of Weakley County at Dresden, Tennessee, to the United States District

Court for the Western District of Tennessee, Jackson Division, and alleges as follows:

        1.       On February 17, 2023, the Plaintiff, Dr. Gwin Anderson, OD, citizen of

Tennessee, filed suit in the Chancery Court for Weakley County at Dresden, Tennessee

under docket no. 25552 naming State Auto as a Defendant (“the Chancery Court suit”). A

copy of the Chancery Court suit filed by the Plaintiff is attached as Exhibit A.

        2.       State Auto was served with the Circuit Court suit on February 24, 2023,

through the Tennessee Department of Commerce and Insurance pursuant to Tenn. Code

Ann. § 56-2-504.

        3.       No further proceedings have been had in the Chancery Court suit.




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        4.       The entire amount in controversy, exclusive of interest and costs, exceeds the

sum of Seventy-Five Thousand and no/100 Dollars ($75,000.00). In particular, Plaintiff

alleges, among other things, breach of contract regarding an insurance policy against State

Auto seeking damages not less than $13,000,000.00.

        5.       This Court also has jurisdiction over this matter under 28 U.S.C. § 1332 (a)

because there is complete diversity of citizenship between the Plaintiff and the real party

defendant to this action.

        6.       Defendant State Auto, for purposes of diversity jurisdiction, is a citizen of

Ohio, where it is incorporated, with its principal place of business in Ohio.

        7.       Although Plaintiff also names as defendants Young and Associates and

Engle Martin & Associates, neither are citizens of Tennessee. Engle Martin & Associates

has its principle place of business in Georgia and is incorporated in Georgia. Young and

Associates is not registered as an entity with the State of Tennessee and is instead

incorporated in Missouri and has its principal place of business in Missouri. Thus, Young

and Associates is not a citizen of Tennessee. Therefore, their inclusion does not defeat

diversity jurisdiction.

        8.       Plaintiff includes reference to and what appears to be allegations against

Young and Associates employees, Chris Williams and Matt Buckner in another attempt

to defeat diversity. State Auto cannot clearly articulate who Plaintiff is seeking to join in

this lawsuit and out an abundance of caution, State Auto would inform the Court that

these two individuals are citizens of Tennessee but their inclusion also does not defeat

diversity jurisdiction because they have been fraudulently joined by Plaintiff in an attempt

to defeat the diversity jurisdiction of this Court as there is no colorable cause of action



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against either, Chris Williams or Matt Buckner under Tennessee state law.

         9.      It is well-established that removal cannot be defeated by a plaintiff’s

improper or fraudulent joinder of a party. See Wilson v. Republic Iron & Steel Co., 257

U.S. 92, 97 (1921); Sell v. Volkswagen of Am., Inc., 505 F.2d 953, 955 (6th Cir. 1974)

(affirming trial court’s denial of motion to remand and upholding diversity jurisdiction

where a named defendant was joined “as a procedural tactic to destroy diversity of

citizenship”); Coyne ex rel. Ohio v. Am. Tobacco Co., 183 F.3d 488 (6th Cir. 1999) (finding

sufficient evidence for the district court to conclude that plaintiffs could not have

established a cause of action against the non-diverse defendants under state law, thereby

permitting removal).

         10.     To establish fraudulent joinder, State Auto must demonstrate that “a plaintiff

could not have established a cause of action against [the] non-diverse defendant[]”—in

this case, Young and Associates, Engle Martin & Associates, or should the Plaintiff have

intended to sue Young and Associates employees, Chris Williams, and Matt Buckner.

Evans v. Arise Inc., No. 08-CV-1177, 2008 WL 5429835, at *3 (W.D. Tenn. Dec. 30,

2008).

         11.     All claims against Engle Martin & Associates and those directed at Young

and Associates or its employees, Chris Williams and Matt Buckner, hinge on a single core

premise: the alleged violation of the Fraudulent Insurance Act, Tenn. Code Ann. § 56-53-

103(a)(1). (See Compl. at ¶¶ 23-27.)

         12.     However, case law has shown that the Fraudulent Insurance Act does not

apply to any of the parties whatsoever. The act provides as follows:

         (a) Any person who commits, participates in, or aids, abets, or conspires to



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        commit, or solicits another person to commit, or permits its employees or its
        agents to commit any of the following acts with an intent to induce reliance,
        has committed an unlawful insurance act:

                 (1) Presents, causes to be presented, or prepares with knowledge or
                 belief that it will be presented, by or on behalf of an insured, claimant
                 or applicant to an insurer, insurance professional or a premium
                 finance company in connection with an insurance transaction or
                 premium finance transaction, any information that the person knows
                 to contain false representations, or representations the falsity of
                 which the person has recklessly disregarded, as to any material fact,
                 or that withholds or conceals a material fact, concerning any of the
                 following:

                          (A) The application for, rating of, or renewal of, any insurance
                          policy;
                          (B) A claim for payment or benefit pursuant to any insurance
                          policy;
                          (C) Payments made in accordance with the terms of any
                          insurance policy; or
                          (D) The application for the financing of any insurance
                          premium;

                 (2) Presents, causes to be presented, or prepares with knowledge or
                 belief that it will be presented, to or by an insurer, insurance
                 professional or a premium finance company in connection with an
                 insurance transaction or premium finance transaction, any
                 information that the person knows to contain false representations,
                 or representations the falsity of which the person has recklessly
                 disregarded, as to any material fact, or that withholds or conceals a
                 material fact, concerning any of the following:

                          (A) The solicitation for sale of any insurance policy or
                          purported insurance policy;
                          (B) An application for certificate of authority;
                          (C) The financial condition of any insurer; or
                          (D) The acquisition, formation, merger, affiliation or
                          dissolution of any insurer; or

                 (3) Solicits or accepts new or renewal insurance risks by or for an
                 insurer that the person knows was insolvent or the insolvency of
                 which the person recklessly disregards.




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T.C.A. § 56-53-103 (Lexis Advance through the 2022 Regular Session). The act does not

apply to experts, consultants, or engineers hired by insurance companies; it applies to

insureds or policyholders only, and there are no allegations that Engle Martin &

Associates, Young and Associates, Chris Williams, or Matt Buckner are policyholders of

State Auto. The act only applies to insureds knowingly making false representations to

insurers, which has not been alleged here. See Cantrell v. Yates Servs., LLC, 205 F.

Supp. 3d 928, 933 (M.D. Tenn. 2016) (“Tenn. Code Ann. § 56-53-103(a)[] … makes it

unlawful for an insured person to ‘present[]. . . to an insurer . . . any information that the

person knows to contain false representations, or representations the falsity of which the

person has recklessly disregarded, as to any material fact, or that withholds or conceals

a material fact, concerning . . . [a] claim for payment or benefit pursuant to any insurance

policy.’”) (emphasis added.) See also, Allstate Life Ins. Co. v. Tyler-Howard, No. 3:19-cv-

00276, 2019 U.S. Dist. LEXIS 174591, at *7 (M.D. Tenn. Oct. 8, 2019); Craighead v.

Bluecross Blueshield of Tenn., Inc., No. M2007-01697-COA-R10-CV, 2008 Tenn. App.

LEXIS 454, at *11 (Ct. App. July 31, 2008) (“Any insurer or insurance professional who

has reasonable belief that an act violating § 56-53-102 or §56-53-103 will be, is being, or

has been committed shall furnish and disclose any information in such insurance

professional's possession concerning such act to the appropriate law enforcement official

or authority, insurance department, state division of insurance fraud, or state or federal

regulatory or licensing authority ….”) (emphasis added); Monumental Life Ins. Co. v.

Puckett, No. W2005-00083-COA-R3-CV, 2006 Tenn. App. LEXIS 12, at *12 (Ct. App.

Jan. 9, 2006); Hanover Am. Ins. Co. v. Tattooed Millionaire Entm't, LLC, Civil Action No.

2:16-cv-2817, 2021 U.S. Dist. LEXIS 258210, at *12 (W.D. Tenn. Sep. 21, 2021).



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        13.      Because the alleged cause of action against Engle Martin & Associates,

Young and Associates and/or Chris Williams and Matt Buckner, is regarding an

inapplicable statute, the Plaintiff’s Complaint against Engle Martin & Associates, Young

and Associates, Chris Williams, and Matt Buckner fails in its entirety. See Fed. R. Civ. P.

12(b)(6). Essentially, the Plaintiff’s Complaint cannot survive a Rule 12 motion to dismiss

for failure to state a claim filed and argued by Engle Martin & Associates, Young and

Associates, Chris Williams, or Matt Buckner. Without the allegations and single cause of

action against Engle Martin & Associates, Young and Associates, Chris Williams, and

Matt Buckner, complete diversity would exist. It is clear that Plaintiff named the additional

defendants solely to defeat diversity jurisdiction.

        14.      As Engle Martin & Associates, Young and Associates, Chris Williams, and

Matt Buckner have been fraudulently joined, diversity jurisdiction obtains. See, e.g.,

Coyne, 183 F.3d at 493 (concluding that plaintiff’s failure to “plead viable state law causes

of action against the local defendants” supported district court’s denial of plaintiff’s motion

to remand on the basis of fraudulent joinder); Garner v. SDH Servs. E., LLC, 55 F.Supp.3d

1016, 1027 (M.D. Tenn. 2014) (finding removing defendants properly removed case,

notwithstanding lack of complete diversity at the time of removal, due to plaintiff’s

fraudulent joinder of another defendant); Davis v. Franklin Am. Mortg. Co., No. 3:16-cv-

02819, 2017 WL 3172743 at *5 (M.D. Tenn. July 26, 2017) (“The remedy for fraudulent

joinder is dismissal of the claims against the non-diverse defendant.”); Hagen v. U-Haul

Co. of Tenn., 613 F.Supp.2d 986, 994 (W.D. Tenn. 2009) (because plaintiffs do not allege

facts that would either directly or inferentially establish the material element of duty, they

have not presented a claim for negligence against defendants and cannot prove a cause



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of action against non-diverse defendants under Tennessee law).

        15.      On March 24, 2023, counsel for co-defendant Young and Associates and

its employees, Chris Williams and Matt Buckner, provided verbal consent to remove this

action to the United States District Court for the Western District of Tennessee at Jackson.

        16.      Consent to removal by Engle Martin & Associates is not required, as

consent is not required from parties who are not properly joined. See Chamber v. HSBC

Bank USA, N.A., 796 F.3d 560, 564 (6th Cir. 2015) (“By its terms, however, § 1446(b)(2)

only requires the consent of properly joined defendants; the consent of a defendant that

has been fraudulently joined is not necessary.”) (emphasis in original; internal citations

omitted). Additionally, Engle Martin & Associates, and Chris Williams and Matt Buckner

individually, have not been served with the Complaint. See 28 U.S.C. § 1446(b)(2)(A)

(“When a civil action is removed solely under section 1441(a), all defendants who have

been properly joined and served must join in or consent to the removal of the action.”)

(emphasis added.).

        18.      Therefore, this Court has diversity jurisdiction over this action.

        WHEREFORE, State Auto gives Notice of the removal of this action from the

Chancery Court for Weakley County at Dresden, Tennessee, to the United States District

Court for the Western District of Tennessee, Jackson Division. State Auto demands a

constitutional jury to try this cause.

        Date: March 27, 2023




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                                        Respectfully submitted,


                                        s/Matthew B. Rogers__________________________
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of March, 2023, a true and correct copy of the
foregoing NOTICE OF REMOVAL OF A CIVIL ACTION BY DEFENDANT, STATE
AUTOMOBILE MUTUAL INSURANCE COMPANY was filed electronically. Notice of this
filing will be sent by operation of the court’s electronic filing system to all parties indicated
on the electronic filing receipt. All other parties will be served by regular U. S. Mail. Parties
may access this file through the court’s electronic filing system.

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